      AFFIDAVIT OF SPECIAL AGENT NICOLE SORRELL IN SUPPORT OF AN
                APPLICATION FOR A CRIMINAL COMPLAINT

        I, Nicole Sorrell, Special Agent with the Department of Homeland Security, Homeland

Security Investigations, being duly sworn, depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Special Agent with the United States Department of Homeland Security
(“DHS”), United States Immigration and Customs Enforcement, Homeland Security

Investigations (“HSI”), assigned to the Boston Field Office, and have been so employed since

2009. I am assigned to the Child Exploitation and Forensics Group. As part of my duties, I am
authorized to investigate violations of the laws of the United States, including criminal violations

relating to child exploitation, child pornography, coercion and enticement, and transportation of
minors, including but not limited to violations of 18 U.S.C. §§ 2422, 2423, 2251, and 2252A. I

have received training in the investigation of child exploitation offenses, including child

pornography, and have had the opportunity to observe and review examples of child pornography
(as defined in 18 U.S.C. § 2256).

        2.      I submit this affidavit in support of a complaint charging Michael MARTIN, YOB
1978, of Braintree, Massachusetts, with one count of possession of child pornography, in violation
of 18 U.S.C. § 2252A(a)(5)(B) and one count of receipt of child pornography, in violation of 18

U.S.C. § 2252A(a)(2)(A).

        3.      The facts in this affidavit come from my personal observations and review of

records, my training and experience, and information obtained from other agents and witnesses.
This affidavit is intended to show merely that there is probable cause to secure a criminal complaint

and does not set forth all of my knowledge about this matter. Where statements of others are set

forth in this affidavit, they are set forth in substance and in part.

                             STATEMENT OF PROBABLE CAUSE

        4.      On July 27, 2021, HSI Boston applied for and was granted a search warrant (
               ) for a TUMBLR account associated with MARTIN. TUMBLR is a file sharing platform

which allows subscribers to share files and other electronic media. On August 6, 2021, HSI Boston
received the electronic response from Tumblr, which included media, subscriber data, IP logins,

posts, messages, and conversations associated with the TUMBLR account associated with
MARTIN.



          5.        On August 4, 2021, at approximately 6:00 a.m., HSI agents, with the assistance of
local law enforcement, executed a federal search warrant (21-mj-5385-JGD) at the residence of

Michael MARTIN (“MARTIN”), located in Braintree, Massachusetts, for evidence, fruits, and
instrumentalities of violations of 18 U.S.C. § 2252A.



          6.        MARTIN was present at the home during the execution of the residential search
warrant. Also present were MARTIN’S girlfriend, C.B., and MARTIN’s adult daughter, N.M.

C.B. stated to agents that there were no additional residents of the home.

          7.        Special Agent (“SA”) Meghan Ronayne interviewed C.B., who identified herself

as MARTIN’S girlfriend and stated she had resided with MARTIN at the residence since 2011.
C.B. identified her computer devices to agents and stated she had two Dell Laptops and an iPhone

10. C.B. also stated MARTIN’S computer devices included his personal Samsung Galaxy cell

phone, a work iPhone, a work tablet, and an older desktop computer.

          8.        MARTIN agreed to speak with agents after agents advised him of his Miranda

warnings, which he waived in writing. The interview of MARTIN was audio recorded. During
that recorded interview, Martin made the following statements:1

                a. MARTIN stated the email account “XXXXXXXXdness69@comcast.net”

                    belonged to him.



1
    Unless otherwise indicated, all statements set forth within this affidavit are summary in nature.
             b. MARTIN provided his phone number as XXX-XXX-1748.

             c. MARTIN stated he had used Tumblr, and added, “that’s like pictures and stuff.”
                When asked if he used the email account “XXXXXXXXXness69@gmail.com” to

                set up Tumblr, MARTIN stated, “I think so.” MARTIN stated he used Tumblr to
                post pictures.

       9.        During the search of the residence, agents located and seized multiple digital

devices, including a Samsung Galaxy Note 4 Model N915P cell phone (the “Note 4”), a Samsung
model SM-G780G (the “SM-G780G”) cell phone, an Apple iPhone, an Apple iPad, and an LG

phone. The SM-G780G was located in MARTIN’s bedroom on a nightstand next to the bed,
connected to a charging dock and powered on. Also located on the charging dock were the Apple

iPhone and Apple iPad. The Note 4, which was not powered on and appeared to have several

cracks in the screen, as well as the LG phone, which was not powered on, were located on a dresser
near the foot of the bed in the same room. During the interview, MARTIN was asked which

devices belonged to him, and MARTIN explained that the Samsung and “Android”2 cell phones
located in the bedroom belonged to him, as well as the iPhone and an iPad. MARTIN stated the

SM-G780G on his nightstand was his current phone, which he had purchased during the past year,
and that the Samsung and Android phones located in his bedroom and were not powered on were

his “old” phones. MARTIN also stated one of the older phones was “fried” but did not explain

how it became damaged. MARTIN added that he was the only person in the home that used
Android (Samsung) devices, as his girlfriend and daughter used Apple devices.

       10.      During the search of the SUBJECT PREMISES, HSI Computer Forensic Agents
(“CFA”) attempted to perform preliminary forensic reviews of devices located on scene.

MARTIN provided the passcode to the SM-G780G that was located on the nightstand after being

advised of his Miranda warnings and agreeing to speak with agents, which was a draw pattern.

2
  Android is a commonly used term to describe smartphones which utilize the Android operating
system. This operating system is used in Samsung phones. A smartphone described as an Android
is notably different from an Apple iPhone, which utilizes an Apple operating system.
MARTIN further provided a numeric passcode, which he stated would open the additional Android

and Samsung devices located at the SUBJECT PREMISES.

       11.       CFAs determined on scene that the pattern passcode MARTIN provided for the

SM-G780G was accurate and unlocked the device. A preliminary review of the device did not
locate evidence of child exploitation material, and it was determined that further forensic

examination would be completed at HSI’S Cyber Forensic Laboratory.

       12.       The Note 4, which was located on MARTIN’S bedroom dresser and featured a
cracked screen, failed to power up on scene and was transported to HSI’s Cyber Forensic

Laboratory for examination.

                     Forensic Review of the Note 4 and Other Seized Devices
       13.       A forensic review of the Note 4 was conducted by HSI Boston Task Force Officer

(“TFO”) Forensic Examiner Randy DeMello at HSI’s Cyber Forensic Laboratory. Initial review

of device information revealed the device to have a user-provided bluetooth name3 of “michael
martin.”

       14.       Forensic review of the Note 4 also revealed the following user-submitted identifiers
within the device:

             x   Full name (Facebook): Mike Martin

             x   Full name (Google Hangouts): michael martin

             x   Full name (Amazon Shopping): XXXXXXXXdness69@comcast.net

             x   Email (Facebook): XXXXXXXXdness69@comcast.net


3
  Bluetooth is a wireless technology which utilizes radio waves to connect devices wirelessly.
According        to        Samsung         Galaxy         Note       4’s       user       guide
(https://downloadcenter.samsung.com/content/UM/201610/20161003232916075/SPT_SM-
N910P_Note4_EN_UG_MM_6.0_052516_FINAL_WAC.pdf), Samsung Galaxy devices have a
bluetooth name that is visible to nearby devices connecting via Bluetooth and Wi-Fi. By default,
the name of the device will be same as the name of the Samsung model. A Samsung device user
may change the device name within the phone settings.
               x   Email (Google Hangouts): XXXXXXX99@gmail.com

               x   City (Facebook): Braintree, MA

               x   Nickname (Facebook): mike.martin.XXX44

               x   Birthday (Facebook): XX/XX/19784

         15.       Data retrieved during the forensic analysis of the Note 4 revealed several hundred
image files which depicted minor females (who appeared to be approximately between the ages of

12-16). Many of these images depicted the minor females posed lasciviously, nude, and engaged

in sex acts, while other images depicted young females clothed but posed in ways intended to
arouse sexual desire, commonly known as erotica. Based on my experience and training, I

determined that at least 50 of the images depicted child pornography with victims under the age of
15.        These          images         were        located        within     the      file      path

/data/data/com.dropbox.android/global/sharedlinks/thumbs/sh/.                The following three files

were included:

               a) roxqfpjqe4s5yhd/AAAzQ5EnN-jEHDbih5uJE4I-a/7b26da3c-56be-481d-

                   a560-0107cc20f6ee.mp4/1024x768_bestfit.jpg - This image depicts a young
                   female who appears to be between the ages of 4-7, lying on her back nude from

                   the midsection up, with an adult male standing over her, with the adult male’s

                   erect penis visible in the adult’s right hand.

               b) data/data/com.dropbox.android/global/sharedlinks/thumbs/sh/v4eqeqz4y

                   qk6so8/AAD3RmsAAB4k5kdL1WvLoEya/hebe/1426323727558-
                   5.jpg/1024x768_bestfit.jpg - This image depicts a minor female who appears

                   to be between the ages of 12 and 14 years of age, lying on her back holding an
                   erect penis in her left hand. An adult woman is visible in the image, performing

                   oral copulation on the minor female.


4
    This birthdate matches MARTIN’S date of birth.
             c) data/data/com.dropbox.android/global/sharedlinks/thumbs/sh/lnoe1o2tgt

                d4tqo/AAApEJpbpBKxJTdNemmkBXi6a/pthc/dcd53c97-e0b7-4080-
                9245-44b115ff6c7f.jpg/1024x768_bestfit.jpg - This image depicts a minor

                female appearing to be between the ages of 5-8 years of age, sitting in a chair,
                with her knees up, holding a book and posed fully nude except for a pair of

                purple socks on her feet. Her genitalia are exposed and are the focal point of

                the picture.

       16.      On or about October 11, 2021, TFO DeMello queried the image described in

Paragraph 15(b) through NCMEC’s Law Enforcement Portal, which allows investigators to query

the hash ID of located images against a database of previously identified child victims. This image

matched as an “identified child”. NCMEC defines an identified child as having an exact hash

value match with an image/video which appears to depict at least one child previously identified

by law enforcement. Agents noted that the child identified in this image was depicted in multiple

additional images, depicted posing in various stages of undress and sexual acts, located on

MARTIN’s Note 4.

       17.      During the forensic examination it was noted that the images described in
Paragraph 15 contained file paths that included Dropbox in the name. TFO DeMello performed

searches of installed and archived applications on the Note 4 and located a Dropbox account

associated with the email address, XXXXXXXX99@gmail.com (“TARGET ACCOUNT”).

       18.      A forensic examination of the SM-G780G revealed the device had been in active

use at the time the search warrant was executed, with access dates in August of 2021, with

XXXXXXXX9@gmail.com identified as the active email address associated with the device user.

TFO DeMello located a record installation of the Tumblr application on the device, with email

address XXXXXXXX9@gmail.com identified as the user account email. A Viber account, with

email XXXXXXXX9@gmail.com, was located on the device, with recent chat groups for the user

within the Viber app labeled, “Amateur Teen Female Fuck” and “Boy-Girl Content”. Viber is an
app that allows users to send text messages, and make phone and video calls.

          19.       The SM-G780G also contained hundreds of images of minor female girls, who

appeared to be aged approximately 12-14, partially clothed and posed erotically. Additionally, the

collection included over 100 images of young females with their genitals exposed and engaging in

sex acts. These images depicted females who appeared to be approximately aged 14-18, but due

to factors such as image quality and cropping, I was unable to confirm that the females depicted

in those images were under the age of 18.

          20.       The iPad and iPhone seized from the nightstand in MARTIN’s bedroom were

forensically examined and found to contain no images of child pornography. These devices were

found to have selfie images of MARTIN and self-produced videos which depicted MARTIN

engaging in masturbation, with the screens of other devices visible in the frame featuring images

of young girls as MARTIN appeared to be viewing the images during masturbation. Finally, the

LG phone could not be forensically examined, as it appeared to be internally damaged beyond

repair.

                               Review of the Subject Tumblr Account

          21.       On or about August 6, 2021, HSI Boston received materials in response to the

federal search warrant issued for the SUBJECT TUMBLR ACCOUNT, as referenced in Paragraph

10. TUMBLR provided subscriber data, messaging logs, media (including images and videos),

and posts belonging to the SUBJECT TUMBLR ACCOUNT.

          22.       TUMBLR provided subscriber data for the SUBJECT TUMBLR ACCOUNT,
which included the following identifiers:

                x   Username: XXXXXXXXXXXhottubshark

                x   Primary blog: https://XXXXXXXXXXXhottubshark.tumblr.com
              x   Email address: XXXXXXXXdness69@comcast.net (Verified)5

              x   Account creation date: 05/29/2018

        23.       Tumblr provided timestamps of media, messages, and posts shared by the
SUBJECT TUMBLR ACCOUNT. Review of the SUBJECT TUMBLR ACCOUNT revealed

several hundreds of images and videos, as well as thousands of messages, shared and received by

the SUBJECT TUMBLR ACCOUNT. The images, along with written comments and messages,
were posted to the blog page controlled by the SUBJECT TUMBLR ACCOUNT or shared with

other Tumblr users during messaging interactions on the blog, during the time period spanning
from 05/29/2018 through 03/09/20216. The vast majority of images posted and shared by the
SUBJECT TUMBLR ACCOUNT depicted young females, who appeared to be approximately

between the ages of 12-16, posed in various states of erotica, sexually suggestive poses, or
engaging in sexual acts. Images of adult pornography were also located within the account. There

were approximately 15 images within the media shared by the SUBJECT TUMBLR ACCOUNT
depicting prepubescent females who appeared to be approximately aged 10-11, and dozens of

additional images of child pornography depicting minor females who appeared to be

approximately aged 12-15. Further, dozens of images depicted child erotica, featuring children
who appeared to be younger than 8, along with sexually suggestive messages commenting on the

images, were located in the SUBJECT TUMBLR ACCOUNT.

        24.       Included with the materials described in Paragraph 23, the following images of

child pornography were located in the SUBJECT TUMBLR ACCOUNT7:

5
  According to Tumblr’s Law Enforcement manual, when a user creates a new Tumblr account
and provides an email address, Tumblr sends a verification message to that email address. When
the user opens the verification email and clicks on a verification link, the email address is verified.
6
  On March 9, 2021, which is the date the Cybertip was generated by Tumblr, the SUBJECT
TUMBLR ACCOUNT was terminated by Tumblr.
7I am aware that the “preferred practice” in the First Circuit is that a magistrate judge view images that
agents believe constitute child pornography by virtue of their lascivious exhibition of a child’s genitals.
United States v. Brunette, 256 F.3d 14, 17-19 (1st Cir. 2001) (affiant’s “legal conclusion parroting the
statutory definition […] absent any descriptive support and without an independent review of the images”
            a) On 01/18/2021 at 00:43:32 EST, the SUBJECT TUMBLR ACCOUNT uploaded

                the following image:

                conversation_300773717_XXXXXXXXXXXhottubshark_XXXXXXXXXXan

                dbabes_1610948612.gpg8: This image depicts a prepubescent female, who appears
                to be approximately 9-11 years of age, dressed in rainbow-colored accessories and

                shirt, nude from the waist down. The girl is posed in a standing split and holding

                one foot above her head, displaying her genital area. The girl’s face is visible in

                the image, and her hair is styled in blonde ponytails. This image appears to be the

                same image which generated the Cybertip9.

            b) On 01/02/2020 at 14:02:08 EST, the SUBJECT TUMBLR ACCOUNT posted the

                following image in a chat conversation with Tumblr user “XXXXXXXXblog:

                conversation_272434874_XXXXXXXXblog_

                XXXXXXXXXXXhottubshark_1577991728356.jpg: This image depicts a

                prepubescent female, who appears to be approximately 10-12 years old, posed

                completely nude except for rainbow-colored socks, posed in a forward-facing bend,


insufficient basis for determination of probable cause). Here, however, the descriptions offered “convey to
the magistrate more than [my] mere opinion that the images constitute child pornography.” United States
v. Burdulis, 753 F.3d 255, 261 (1st Cir. 2014) (distinguishing Brunette). The children described herein are
as young as approximately between the ages of 4 to 7 years-old with numerous images of children under
approximately 14 years-old – in all events, younger than eighteen. Furthermore, the descriptions of the
files here are sufficiently specific as to the age and/or appearance of the alleged children as well as the
nature of the sexual conduct pictured in each file, such that the Court need not view the files to find that
they depict child pornography. See United States v. Syphers, 426 F.3d 461, 467 (1st Cir. 2005) (“The best
practice for an applicant seeking a warrant based on images of alleged child pornography is for an applicant
to append the images or provide a sufficiently specific description of the images to enable the magistrate
judge to determine independently whether they probably depict real children.”) (emphasis added); see also
United States v. LaFortune, 520 F.3d 50, 56 (1st Cir. 2008) (similarly emphasizing Syphers court’s use of
“or” in describing the Brunette “best practice”). Where I have included such nonconclusory, sufficiently
specific descriptions this Court need not view the imagery to find that they depict child pornography.
Nonetheless, the described imagery is available for review at the Court’s request.
8
  According to documents returned with the media files by Tumblr, media files sent in messages
are named in the following way: “conversation_{conversation_id}_{current_blog}
_{other_blog}_timestamp.jpg”. I have redacted the usernames included in these file paths.
9
  See Paragraph 10 of Affidavit in case number 21-5385-JGD.
               with her genital area displayed as the focus of the image. The girl’s face is visible

               between her legs.

       25.     The content of the chats between the SUBJECT TUMBLR ACCOUNT and Tumblr

user “XXXXXXXXblog” included hundreds of messages. In particular, in the Tumblr chat on
January 2, 2020, at 21:28:07 EST, the SUBJECT TUMBLR ACCOUNT uploaded three images

depicting minor females who appeared to be approximately between the ages of 12-15, posed
wearing revealing clothing or showing nude backsides. Tumblr user, “XXXXXXXXblog ” replied

several minutes later with the following separate, consecutive messages, “All of them”, “Wish I

knew them”, “Where do you find these”, and “you talk with them”. The SUBJECT TUMBLR
ACCOUNT replied at 21:54:57 EST, writing, “Some are Instagram girls some of them r me nieces

girlfriends (sic)”. The SUBJECT TUMBLR ACCOUNT then posted three more images to the
chat, with each image depicting minor females, including the image of child pornography

described in Paragraph 22(a). Tumblr user “XXXXXXXXblog” replied at 22:40:12 EST, writing,

“So damn hot”, and “I’m horny as hell”. The SUBJECT TUMBLR ACCOUNT replied at
22:50:40 EST, writing, “I hear ya”. Approximately one minute later, the SUBJECT TUMBLR

ACCOUNT posted an image depicting the faces of two minor females who appeared to be
approximately 14-15 years of age. Tumblr user “XXXXXXXXblog ” responded seconds later by

writing, “You fuck any of them?” Minutes later, the SUBJECT TUMBLR ACCOUNT responded
with, “One of my nieces friends”. The conversation continues between the two on an almost daily
basis until two years later, with the vast majority of the exchanges centering around a shared sexual

interest in minor females, when on March 9, 2021, the chat between the two ended10.

       26.     In another conversation located from the SUBJECT TUMBLR ACCOUNT search

warrant, dated July 31, 2018, the SUBJECT TUMBLR ACCOUNT, at 05:28:21 EST, wrote, “I

posted a bunch of pics of girls and someone reported me[.]”. Tumblr user “XXXXXXXXXX-



 On March 9, 2021, Tumblr was alerted to the presence of child pornography on the SUBJECT
10

TUMBLR ACCOUNT, and the account was deactivated.
kinkster” responded with, “Oh. Why?”. The SUBJECT TUMBLR ACCOUNT then replied with

“Kik”.11 “I had kick (sic) but they suspended my account[.]”.

       27.     In an additional example of conversation content, on June 1, 2019, at 09:07:41 a.m.

EST the SUBJECT TUMBLR ACCOUNT posted, “If ur (sic) ever on kik I’m marmarty2[.]”. The
SUBJECT TUMBLR ACCOUNT immediately posted two photos of an approximately 15-year-

old female, posed nude from just below her pubic area and above, with her face, breasts and pubic

area exposed and facing the camera. TUMBLR user “XXXXfinsh” responded approximately 6
minutes later with, “Hot”, and “Is your cock hard?”. The SUBJECT TUMBLR ACCOUNT

responded with, “Always”, and then immediately posted three more images of young females
partially clothed, including the image of an approximately 12-year-old minor female wearing a

bikini. Between 9:15:00 a.m. EST and 09:46:14 a.m. EST, the SUBJECT TUMBLR ACCOUNT

transmitted approximately 15 images depicting females between the ages of 12-16 in various
stages of undress and sexual poses. On October 18, 2018, at 07:54:21 p.m. EST, Tumblr user

“XXXXfinsh” wrote, “You’re making me wanna (sic) rape every little girl I cross paths with
[laughing emoji inserted here]”. The SUBJECT TUMBLR ACCOUNT then immediately replied,

“Go for it lol. Love to help. Hehehe. You working that big cock in them they would end up
begging 4 more[.]”. On February 4, 2020, between 10:45:32 p.m. EST and 11:30 p.m., EST, the

SUBJECT TUMBLR ACCOUNT posted several images of a young female, approximately 15

years of age, that he previously identified as his daughter’s friend in chats. The SUBJECT
TUMBLR ACCOUNT wrote, “Hers (sic) some more. Rape her hard and make her cry[.]. At

11:51:12 p.m. EST on the same date, the SUBJECT TUMBLR ACCOUNT wrote, “Next time she
comes over I should leave my phone out like it was an accident[.]”.

                                        CONCLUSION


       28.     Based on all of the foregoing information, I submit that there is probable cause to


11
  Kik is a third-party messaging application that I am familiar with through my work investigating
child exploitation offenses.
